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                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF FLORIDA

                                  CASE NO. 20-22050-CIV-MORENO

  SISVEL INTERNATIONAL, S.A., SISVEL,
  S.p.A.,

          Plaintiff,                                            CLERK’S NOTICE OF
  v.                                                     JUDICIAL OFFICER REASSIGNMENT

  BLU PRODUCTS, INC.,

          Defendants.
                                                   /

          Pursuant to a Order Directing Reassignment of Case entered by the Honorable Federico A

  Moreno, United States District Judge on the 30th day of September, 2020, and after a blind random

  drawing by the Clerk of this Court, all parties to this action are noticed as follow:

          1.      That the above-styled cause be and same is hereby reassigned to the calendar of the

  Honorable Darrin P. Gayles, United States District Judge for all further proceedings, and

          2.      That all papers hereafter filed shall bear the assigned case number followed by the

  surname of the assigned Judicial Officer as follows:

                                   20-22050-CIV-GAYLES/LOUIS

  thereby indicating the Judge to whom all future documents should be routed or otherwise brought

  for attention, in accordance with S.D.Fla. L.R. 5.1.A.5.

          DONE at the Federal Courthouse Square, Miami, Florida, this 30th day of September, 2020.

                                                  ANGELA E. NOBLE
                                                  CLERK OF COURT

                                                         J. Conway
                                                  By:
                                                        Deputy Clerk
